            Case 2:23-cv-00082-MKD                     ECF No. 1-4         filed 03/24/23   PageID.20 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                     Eastern District
                                                     __________ DistrictofofWashington
                                                                             __________

TINFRA, LLC, a Delaware limited liability Company,                     )
                                                                       )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                            Civil Action No.
                                                                       )
BIT CAPITAL GROUP, LLC, a Delaware limited liability                   )
company; JIMMY ODOM, an individual; and JAMES                          )
THOMMES, an individual,                                                )
                                                                       )
                           Defendant(s)                                )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) BIT CAPITAL GROUP, LLC
                                           James Thommes, Registered Agent
                                           Bit Capital Group, LLC
                                           5805 N Vista Ln
                                           Spokane Valley, WA 99212-1679



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Bradley P. Thoreson
                                           Buchalter
                                           1420 5th Ave., Ste 3100,
                                           Seattle, WA 98101        206-319-7052


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                   CLERK OF COURT




Date                                                                               SEAN F. McAVOY, Clerk
             Case 2:23-cv-00082-MKD                      ECF No. 1-4       filed 03/24/23          PageID.21 Page 2 of 2

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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                          .

           ’ I personally served the summons on the individual at (place)
                                                                                      on (date)                            ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                           , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                      on (date)                            ; or

           ’ I returned the summons unexecuted because                                                                                   ; or

           ’ Other (specify):
                                                                                                                                                .


           My fees are $                           for travel and $                       for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.




 Date                                                            Server’s signature



                                                                 Printed name and title




                                                                 Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                           Reset
